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                          TN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OP DELAWARE

In re:                                                ) Chapter l 1

QUIKSILV~R,INC., et al:,                               )     Case Na. 15-11$80(BLS)

                      debtors.'                        )
                                                             Jointly Eldministe~•ed
                                                             Objection Deadline: January 27, 2016 at a:00 p.m.
                                                             Hearing Date: Scheduled only Nf Necessary




               THIRD 1VIONTHLY APPLICATION FOR COMPENSATION
                     AND REIMBURSEMENT OF EXP~NS~S OF
            PACHULSKI STAND ZIEHL & ~1~JNE~ LLP,AS CO-COUNSEL TO
                 THE DEBTORS AND DEBTORS IN POSSESSION,FOIE
         THE PERIOD FROM NOVEMBER 1, 2015 THROUGH NOVEIVIBER 30, 20.15

Name of Applicant:                                       Pachulslci Stang Ziehl &Jones LLP
Authorized to Provide Professional Sexvices
                                                         Debtors and Debtors in Possession
to:
                                                         Nunc Pro Tunc to September 9, 2015 by order
Date ~f Retention:
                                                         signed October 6,.2015
Period for which Compensation and                                                                   2
                                                         November 1, 2015 through November• 30, 2015
Reimbursement is Sought:
Amount of Compensation Sought as Actual,
                                                         ~12,133.00
Reasonable and Necessary:
Amount of Expense Reimbursement Sought                   ~    942.76
as Actual, Reasar~ablc and Necessary;

This is a:         x monthly           interim           final application.

                  The total time expended foi~ fee application preparation is approximately 2.0 hours

an~1 the ~o~'respo_n_c~ing Eomp~n~ation re~u~st~~ is ~pproxim~t~:ly ~80(~.40.



 ~ The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
Quilcsilver, Inc.(9426), QS Wholesale, Inc,(8795), DC Direct, lnc.(8364), DG Shoes, Inc.(0965), Fidra,[nc.
(8945}, I-Iawk Designs, Ina (l 12l), Mt. Waimea, Inc.(5846},Q;S. Optics, Inc.(2493), QS Retail, Cne.(0505},
Quiksiiver Entertainment, Tnc.(9667), and Quiksilver Wetsuits, Cnc.(9599). The address of the Debtors'
corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
2 `['he applicant reserves the right to include any time expended in the time period indicated above in future
applications) if it is not included her•eit~.


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                                                    PRIOR APPLICATIONS FILED

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11/23/1 S               09/09/15 — 09/30/1 S                   $32,947.50                  $ 436.40                 $26,358.00                           $436.40
12/21/15                10/Ol/15 —10/31/15                     $38,391.00                  $1,66 .34                   fending                           Pending


                                                      PSZ&,1 PROFESSIONALS
}~~'               ~y"~                        __      M~..._____.~____.~                         ~
                                                                                                  '~y       {               y{         Y--.       j.sy

                                               ~~+7t43VLl. ~,i~'~33i+~~~.~+t~^iii~~~              .~LVi~i i~Z         ~~~Lil           '.      'il6~ti
.T TCJ ~dV FJ~3,'~~+irAOAiJii~'..'

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                                           ~7~.~~1"iCi1C~3 ~r~~i' E3~ f~~3t£~lillil~            ~1T3~~'l~f~'#It~




Laura Davis Jones                        Partner 2000; Joined Firm 2000; ~                        $1,025:00               5.40                $5,535.00
                                         Member of DE Bar since 1986
ieffrey N. T'omerant~                    Partner 1995; Member of CA Bar                           $ 895.00               0.10                 $          89.5U
                                         since 1989
Monica M. Molitor                        Paralega12009 T                                         $ 305.00               13.00               __ $3,965.00
Cheryl A. Knotts                         Paralegal 2000       _ ____                             $ 295.00                0.40                  $ 118.00
Patricia E. Cui~iff ~                    Paralega12000                                           $ 295.00                0.90                  $ 265.50
Charles J. Bouzoukis                     Case Management Assistant 2001                          $ 225.00                4.30                  $ 967.SQ
Karen S. Neil                            Case,Managexnent Assistant 2003                         $ 225.00                5.30                  $1,192.50

                                                           Grand Total: $ 12,133.00.
                                                           Total Ho~~rs:      29.40
                                                           Ble~~dec~ Rate: $ 412.69




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                                                                             ~~r~i~s.._._
        ~~-I?r~~.ect ~~o~res                             W:.~::~. rI`c~f~~                    'Tr~ta~ ~'~e~
Bankruptcy Litigation                                                                4.90              $1,494.50
Case Administration                                                                 18.00              $5,001.00
Claims Admin/Objec;tions                                                             1.70              $1,729.50
Compensation of Professional                                                       _ 1.60              $ 700.00
~m layee Benefit/Pension     ---                                                     0.70   _          $ 645.50
Plan &Disclosure Statement                                                           2.50              $2,562.50



                                          EXPENSE SUMMARY


                                         ,.                                                 -'

Delivery/Caurier~Service            Digital Legal                                                 ~ $ 45.96
Count Research                      Pacer                                                   _       $ O.SO I
Reproduction expense                                                                                ~`~~~•g~
Reproduction/ Scan Copy                                                                             $448.50




'PSZ&J may use one or more service providers. The service p~~oviders identified hej~ein below are the primary
service providers for the categories described.


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                        iN THF,UNITED STATES BANKRUPTCY.COURT

                                  FOR THE DISTRICT OF DELAWARE

In re:                                               )     Chapter 11

QUTKSILUER, TNC., et al.,                            ) Case No. 15-11880(BLS)

                     Bel~~ars.'                 ~    }
                                                           Jointly Adlx~inistered
                                                           Objection Deadline: January 27,2016 at 4:00 p.m.
                                                           Hearing- Date: Scheduled only if Necessar~~




               THIRD MONTHLY APPLICATION FOR COMPICNSATION
                      ANI)REIMBURSEMENT OF EXPENSES(?F
            P~CHULSKI STANG ZTEHL &JONES LLP,AS CO-COUNSEL TO
                 THE DEBTORS AND DEBTORS IN POSSESSION,FOR
         THE PF,RIOD FROlVi NOVENtB~R ~~2015 THROUGH NOVEMBER 30,2015

                 Pursuant to sections 330 and 331 of Title 11 of the YJnzted States Code (the

"Banla•uptcy Code"), Rule 2016 of the federal Rules of Bankruptcy Procedure (collectively, the

`Bankruptcy Rules"}, and the Caurl's "Order Pursuant to Bankruptcy Code Sections 105(a} and

331 establishing Interim Carnpensation Procedures," signed an ox about October 28, 2015 (the

"Administrative Order"); Pachulski Stang Ziehl 8z .hones LLP ("PSZ&J" or the "Firm"), Co-

Counsel to the Debtors and Debtoxs in Possession ("Debtors"), hereby submits its Third Monthly

Application for Compensation and for Reimbursement of expenses for the Period fi•ozn

November 1, 2015,through November 30, 2015-(the "Application").




~ The Debtors and the last four digits of their respective taxpayer identification numbers- are as follows:-
Quiksilvei•, Inc.(9426), QS Wholesale, Tnc.(8795), DC Direct, Tnc.(8364), DC Shoes, Inc.(0965), Fidra, Inc.
{8945), 1-Iawk Designs, Inc:(1 121}, Mt, Waimea,]nc.(S84G), Q.S. Optics, Inc.(2493), QS Retail, Tnc.(0505),
Quiksilver Entertainment, Inc.(9667), and Quilcsilver Wetsuits, ina (9599). The address of the Dabtors'
corporate headquarters is 5600 Argosy Circle, 1-Tuntington Beach, California 92649,


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                   ley this Application PSZBzJ seeks a monthly interim allowance of compensation

in the amount of $12,133.00 and actual and necessary expenses in the amount of $942.76 fog• a

total allowance of $13,075.76 az~d payment ~f ~9,'706.4Q(80% of the allowed fees) and

reimbursement of $942.76(100% of the allowed expenses)for a total payment of $10,649.16 for

the pe~•iod November 1, 2015 through November 30,2015 (the "Interim Period"). In suppai~t of

this Application, PSZ&J respectfully zep~•esents as follows:

                                                    ~3ack~r•ounc~

                                 On September 9, 201 S, Debtors commenced their cases by filing volunta~•y

petitions for relief rznder chaptex• 11 of the Bankruptcy Code. The Debtors contznue in possession

oftheir properties and continue to operate and manage their businesses as debtors in possession

pursuant to sections 1107(x) and 1108 of the Bankruptcy Code. An official corr~mittee of

unsecured creditors("Committee") was appointed in these cases on or about September 22,

2015. No trustee or examiner has bean appointed in any of the Debtors' chapter 11 cases.

                    2..          The Court has jurisdiction over this mattez• pursuant to 28 U.S.C. §§ I57

and 1334. This is a corgi proceeding pursuant to 2$ U.S.C, ~ 1 S7(b)(2).

                    3,           On or about October 28, 2015,the Court signed the Administrative Order,

authorizing certain px•ofessionals ("Pxofessionals") to submit monthly applications far inte~~im

co~rpensati~n and rei:rbttrsement for Pxpenses,.pursurnt to _the pj'oce~u~~es specified therein.

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no.objections aze made within twenty-one(21) days after service of the

monthly fee application the Debtors are authorized to pay the Professional eighty percent(8U%}



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of the requested fees and one hundred percent(100%)of the requested expenses. Beginning

with the period ending December 31, 201 S, and at three-nnanth intervals thereafter, each of the

T'rofessionals shall file and serve an interim application for allowance of the amounts sought in

its monthly fie applications for that period. All fees and expenses paid are on an interim baszs

until final allowance by the Court.

                 4,          The xetentian of PS7&J, as Co-Counsel.to the Debtors, was approved

effective as of September 9, 2015 by this Court's "Order Granting Debtors' Application Pursuant

to Sections 327(a) and 329 of the Bankruptcy Cade and Bankruptcy Rules 2014 and 2016 aild

Local Bai7lciuptcy Rules 2014-1 and 2016-1 Authorizing the ~mplayment and Retention of

Pachulski Stang Ziehl &Jones LLl' as Co-CUunsel fa~~ the Debtors Nz~nc Pro Tisnc to the Petition

Date," signed on or about October 6, 2015 (the "Retention Order")..The Retention Order

authorized PSZ&.T_ to be compensated on an houxly basis and to be reimbursed f'or actual and

necessary out-ot=pocket expenses.

                      PS78~J's APPLTCATIOIV FOR COMPENSATION Ale1D
                            FOR REIMBURSEMENT OF EXPENSES

                                    Conipex~satio~i Paid a~tc~ its Source

                 5.          All services for which 1'SZ&J requests compensation were performed for

or on behalf of the Debtors.

                 6.          l'SZ&J has received no payment and na promises fox payment from. any

source other than frarn the Debtors for services rendered or to he z•endered in any capacity

whatsoever in connection with the matters coveted by this Application. There is no agreement or

unde~•standin~ between PSZ&J and any other pe1•son other than the partners ofPSZ&J for the


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sllaxing of compensation to he received fo1• services rende~•ed in this case. PSZ&J has received

payments from the Debtors during the year prior to the Petition Date in the amount of

$150,000.00. Upan final reconciliation of the amount actually expended prepetition, any balance

remaining from tl~e pz•epetition payments to the firm ~vvas credited to the Debtors and utilized as

PSZ&J's retainer to apply t~ postpetitian fees and expenses pursuant to the compensation

procedures approved by this Court in accordance with the Bankruptcy Code.

                                                  Fee Statements

                   7:           The fee statements for the Interim Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Interim 1?eriod, To the best of 1'SI&J's kno~vled~e, this Application

complies with sections 330 and 33l of the Bankruptcy Code, the Bankruptcy Rules and the

Administrative Order. I'SZ&J's time reports are initially handwritten by the attorney or

paralegal performing the described services.. The time reports are organized on a daily basis.

PS7&J is particularly sensitive to issues of"lumping" and, unless tinne was _spent i~z one time

frame.on a variety of different matters-for a paz-ticular client, separate time entries are set forth in

the time reports. PSZ&J's charges t'or its paaf~ssional se~~vices are based upon the time, aaature,

extent and value of such services and the cost of comparable services other than in a case under

the 3anlcruptcy Coc~~~ PS~B~J has ~•~duced its charges t•elated to any non-working "travel time"

to fifty pez~cent (SO%).of PSZ&J's standard hourly rate. To the extent it is feasible, PSZ&J

professionals attempt to work during travel.




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                                      Ac4iral aYYd I~leeessag~~ Expenses

                 8.          A summary of actual and necessary expenses incurred by PSL&J far the

Interim 1'eriad is attached hereto as pert of Exhibit A. PSZ&J customarily charges $0.10 per

page for photocopying expenses •elated to cases, such as these, arising in Delaware. pSZ&J's

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client's account number into a device attached to the photocopier.

PSZ&J summarizes each client's photocopying charges on a daily basis.

                 9.          PSZ&J chal•ges $1.00 per' page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. Thy charge for outdoing

facsimile transmissions reflects PSZ&J's calculation of the actual casts incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside 'vendors who provide similar s~~vices.

PS7.,&J does not charge the Debtors for the receipt offaces in these cases.

                 1Q.         With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAVJ),PSZ&J charges the standaxd usage rates.these providers charge fox•

computez•ized legal research. PS7&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is.passed an to tl~e client.

                 11..        PSZ&J believes the foregoing rates ai~e the market rates that the majority

of law firms charge clients for sucYi services. In addition, PSZ&J believes that such charges are

in accordance with the American Bar Association's("ABA") guidelines, as set forth in the




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ABA's Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Su~~iniaz-~ of Services Renderer)

                 12.         The names of the partners and associates ofPSZ&J who havE rendered

professional services in these cases during the Interim Period, and the paralegals and case

management assistants of PS7&J who provided services to these attorneys during the Interim

Period, are set forth in the attached F,xhibit A.

                 13.         PSZ&J, by and thxough such persons, has prepared and assisted in the

preparation of various motions and orders submitted to the Court for consideration, advised the

Debtors on a regular basis with respect to various matters in connection with the Debtors'..

bank~•uptcy cases, and p~rfarmad all necessary professional services which a~•e described a1~d

narrated in detail below. PSZ&J's efforts have .been extensive due to the size and complexity of

the Debtors' bankruptcy cases..

                                     S~imma~~y of Sc~•~ices bar Proiect

                  14.        The services rendered by PSZ&J during the Interim Period.can be grouped

into the catego~•ies sei forth below. PSZ&J attempted to place the ser~viees provided i~~ the

category that best relates to such services.. However, because eertai~ services may relate to one

or mare categories, services pertaining to one category tray in fact be included in.another

categor}r. These services performed, by categories, are generally described below, with a mare

detailed identification of the actual se~•vices provided set forth on the attached Exhibit A. Exhibit

A identifies the attorneys and paraprofessionals who rendered services relating to each category,



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along with the number of hours for each individual and the total campensatian sought for each

categozy.

            A.         I3~nkrt~ptc3~ Litigation

                 15.        This category relates to work regarding motions or adversa~•y pt•aceedings

in the Bankruptcy Cou~~t. During the rnterim Period, the Firm, among other things:

(1}performed wark regarding Agenda Notices and Hearing Binders;(2) attended to scheduling

issues; and (3)conferred and coz•~•espanded regarding litigation issues.

                            Fees: $1,494.50;      Hours: 4.90

            B.         Case Administ}•atio~~

                 16.        This category relates to work regarding administration ofthis case.

During the Interim Period, tlia Firm, among other things: (1) maintained a memorandum of

critical dates;(2) maintained document control;(3) maintained service lists; and (~)reviewed

and analyzed documents and pleadings and foz•warded them to the appropriate persons.

                            Fees: $5,OO1,Q0;      T-~ours: 18,00

            C.         Ci~ims Aciministratiozi anri Objections

                 17.        This category •elates to work regarding claims administrati<~n and claim

objections. During the rnterim Period, the Firm, among other things, performed ~vark regarding

claim objections, and corresponded and.conferred regarding claim objection issues.

                            Fees: $1,729.50;      Hours: 1.70




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            ll.         Co~3i~eiasation of Professionals

                  18.       This categozy relates to work regarding compensation of the Firm. During

the Interim Period, the Firm, among other things, performed work regarding its September 2015

monthly fee application.

                            Fees: $700.00;         Hours: 1.60

            E.          I+;xnployee Benet'its a~zt1 Pensions

                  19.       This catego~•y relates to work rega~•ding employee benefits and pension

plans, and other employee issues. Du7•ing the Interim Period, the Firm, among other things,

reviewed and analyzed a Key Employee Retention Plan motion and the opposition of the United

States T~•ust~e to s~.rch motion.

                            Fees: $645.50;         Hours: 0.70

            F.          Plan anc~ Disclosure Statement

                  20.       This category relates to work rega~•ding a Plan of Reorganization ("Plan")

and Disclosure Statement. During the Interim Pexiod, the Firm, among other things, reviewed

and analyzed an amended Plan and Disclosure Statement, and conferred regarding Plan and

Disclosur°e Statement issues.

                            Tees: $2,562.50;       Hours: 2.50

                                           Valuation of Services

                  21.       Attozneys and paraprofessionals of PSZ&J expended a tota129.40 hours in

connection with their representation of the Debtax•s during the Interim ~'eriod, as follows:




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       ~~c~i~~ic~~~~i .      ~lunt~er 4f'~'e~rs in ~~tati       ~~i~i~~;    ~~u~~ +t~te~?~€ztan:
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                           Licez~~e to'P~•~et~c~, Ar~~ t~f    ~Gi~a~ges).
                                       ~~i~e~•tis~
Laura Davis Jones       Partner 2000; Joined Firm 2000;        $1,025.00 ~ 5.40          $5,535.00
                         Member ofDE Bar since 1986
J~e~frey N. Pomerantz ~ Partner 1995; i1~lernber of C!-~ Bar   $ 895.00        0.10      $^89.50
                        since 1989
Monica M: Molitor       Paralega12009            _ __     __   $ 305.00       13.00 ~ _~ $3,965.00
Cheryl A. I~notts       Paralegal   2000                     ^$    295.00      O.A~O     $ 118.00
Patricia E. Cuniff      Paralega12000                          $ 29S.OQ        0,90      $ 26S.S0
Charles J. Bauzoukis     Case Management Assistant 2001        $ 225.00        4.30 ___ $ 967.50
7Caren S. Neil           Case Management Assistant 2003        $ 225.00 __ 5.30       _ $1,192,50

                                            G~•ar~d Tatal: $ 12,133.40
                                            Total Hours:         29.40
                                            ~31e~aded l~~te: $  412.69


                 22.         The nature of work pet•farmed by.these persons is fully set foi~h in Exhibit

A attached hereto: These are PSZ&J's normal hout•ly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Debtors during the Interim Period is ,

$12,133.00.

                 23.         In accordance with -the factors enumerated in section 330 of the

Bankruptcy Cade,.it is respectfully submitted.that the amount.requested by.PSZ&J is fair and

reasonable given (a) the complexity ofthe case,{b)the time expended,(c)the nature and extent

of the services rendered,(d)the value ofsuch services, and (e} the costs of comparable services

other than in a ease under the Baz~lcruptcy Code. 1VZoreover, PSZ&J has ~•eviewed the

requia~etnents off' Tael. Banlcr. LR 2016-2 and the Administrative Order• and believes that this

Application complies wrth such Rule and Order.




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                   WHEREFORE,PSZ&J 7•espectfull~ xequests that, 'for the period November 1,

2015 through November 30, 201 S, an interim allowance be made to 1'SZ&J for compensation in

the amount of $12,133.00 and actual and necessary expenses in the amount of X942.76 for a total

allowance of $13,075.76 and payment of $9,706.40(80% of the allowed fees) and

reimbuz-sement of $9 2.76(100% of the allowed expenses) b~ authorized for a total payment of

$10,649.16, and for such other and further relief as this Court may deem just and proper.

Dated: January _~i, 2016               PAGHULSKT STANG ZIEHL &JONES LLP



                                         ~~~a Dav~s.d~~es(DE Bar No. 2436)
                                      --'''James E. O'Neiil(DE Bar No. 4042)
                                 `f +    Jeffrey N. Pome~•antz(CA Bar No. 143717)
                                         John A. Moz~ris {NY Bar No:4662)
                                         919 North Market Street, 17th door
                                          Wilmington, DE 19801
                                          Telephone: (302)652-4100
                                          Facsimile: (302)652-4400
                                          Email: Ijones(a~~pszilaw.com
                                                   ,~oneill c ,~szjlaw.com
                                                   jpomerantz(a~pszilaw.com
                                                   j~,n~orris~pszjlaw.cam

                                        Co-Counsel fo1.lhe Debto~~s and Debtors in Possession




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                                                  V~l[~yFICATION

   STATE OI' DELAWARE

   COt1NTY OF NEW CASTLE


                     Laura Davis 3ones, after being duly sworn according to law, deposes and says:

                     a)          T am a partner with the applicant law arm Pachulslci Stang Ziehl & Jgnes

   LLP,and have been admitted to appear before this Court.

                     h)          I am familiar wish the vvorlc performed on behalf of the Debtors by the

   lawyers and paraprofessionals of PSZ&J.

                     c)          I have reviewed the foregoing Application and the facts set forth therein

    are true and correct to the best of my knowledge, infornnatian and belief. Moreover•, I have

    reviewed Del. Banl~. LR 2016-2 and the Administrative Order signed on or about October 28,

   2015, and submit that the Application substantially complies with such Rule and Order.




                                                                      ones

  ~,~~~ . R:'r AND SCJBSCRI ~
    befEir arse this~day of~~~~- ,2016.


 .: _~_._~
~, ~tary~ _public                     .~ FAY ~"alJf~L.iC
                           ST/a,'~-~ ~f=
   My ~vmmission ExpiresMy                 ~~~L~VVAC;~
                           Commission ~x,~ir~~ C~c~~,~,~~ T4,
                                                              2016




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Case 15-11880-BLS   Doc
                    Doc 816-9
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              EXHII~IT A
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                               Pachulski Mang Zie~~l ~ Jones ILLP
                                         10100 Santa Monica Blvd.
                                                 13th Floor
                                          I,os Angeles, CA 90067
                                                                         November 30, 2015
Quicksilver, Inc.                                                        invoice 111809
5600 Argosy Circle                                                       Client  72779
I-luntington Beach, CA                                                   Matter  00002
                                                                                 JNP
RE: Post-Petition



          STAT~M~NT O~ PROrESSTONAL SERVTCTS REiVD~RrD THROUGH l 1/30/2015
                 FEES                                                     $12,133,00

                 EXPENSES                                                   $942.76

                 TOTAL CURRI~iVT CHARGES                                  $13,075.76

                 BALANCE ~"ORWARD                                         $73,439.24

                 TOTAL BALANCE DUE                                        $86,,515.00
                          Case 15-11880-BLS
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                                            Doc 816-9
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Quiksilvex•                                                                                    Tnvoicc 111$09
72779     00002                                                                                November 30, 2015




  Su~r~}n~ar~~ cif Services by Task Code
  Task Code                Description                                                 Hours                   Amount

 BL                        Ban]<ruptcy Litigation [L430]                                4.90                  $1,494.50
 CA                        Case Administration [~31 10]                                18,00                  $5,001.00
 GO                        Claims Admin/Objections[8310]                                1,70                  $1,'729.50
 CA                        Compensation Prof,[B160]                                     1.60                       $700:00
 EB                        Employee Benefit/Pension-B220                                0.70                       $645.50
PD                         Plan R Disc}osure Stmt,[B320]                                2.50                  $2,562.50
                                                                                       29.40                 $12,133.00

  S~~m~nary of Set~~ices by Professional
  YD              Name                                     Title               Rate             Nouns              Amount

 CAK              Knotts, Cheryl A.                        Paralegal         ?95,00              0.4Q          $118.00
 CJS              Bouzoukis, Charles J.                    Case Man. Asst.   225,00              4.30          $967.50
 JNP              Pomerantz, Jeffrey N.                    Partner           895.00              0.10              $89.50
 KSN              Neil, Karen S.                           Case Man. Asst.   225.00              5.30        $1,192.50
 i,DJ             Jo~ies, Laura Davis                      Partner           1025.00             5.40        $5,535.00
 MM               Molitor, Monica                          Paralegal         305.00             13.Q0        $3,965.00
PEC               Cuniff, Patricia E.                      Paralegal         295.00              0,90          $265.50
                                                                                               29.40         $12,133.00




 Sutnma~y a#'E~~jenses
 Desci•i tp jOp                                                                                                    Amount

Delivery/Courier• Service_                                                                                         $45,96




Pacej• - Cou~~t Research                                                                                             $Q.50




1Zep~`oduction Expense [E 10]                                                                                      $447.80
                    Case 15-11880-BLS
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                                      Doc 816-9
                                          619-2 Filed
                                                Filed 02/19/16
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72779 00002                                                            November 30, 201 S


 Su~~ainary of Expenses
 Description                                                                                Amount

Reproduction/ Scan Copy                                                                     $448,50



                                                                                            $942.76
                      Case 15-11880-BLS           Doc 619-2
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                                                                                       Hours          Rate         AmounC

  Bankruptcy Litigation [L~3Q]
l 1/12/2015    MM      BL        Email exchange with Karen Neil regarding               0.20       305,00           $6].00
                                 pleadings under seal
11/13/2015     LDJ     ~L        Review matters scheduled for 11/l7/15 hearing          0.20      1025.00          $205.00
1 l/13/2015    KSN     ~1~       Pi'epai•e hearing binders for 11/17/1S hearing.        2.20       225.00          $495.00

1 }/13/2015    MM      g~-       Finail exchange with Karen Neil regarding 1 t/17/15    0.30       305,00           $91.50
                                 hearing preparation (.2); confer with Laura Davis
                                 Jones regarding same (.I)
1 1/16/201 S   MM      BL        Email exchange with Karen Neil regarding amended       0.40       305.00          $122.00
                                 agenda regarding 11/17/15 hearing (.2); review
                                 amended agenda regarding same (.1); revise and
                                 update hearing binders for Laura Davis Jones (.1)
11/2S/2015     LDJ     ~~        Review matters scheduled for 12/l/l5 hearing           0.20      1025.00          $205.00
1 1/25/2015    KSN     ~L        Prepare hearing binders for 12/2/15 hearing.            1.20      225.00          $270.00
11/30/2015     KSN     B1-       Prepare hearing binders for }2/l/15 hearing.           0,20       225.00           $45.00 .
                                                                                        4.90                  $X,494.50

  Case Ad3~3inistration [B110]
1 1/02/2015    KSN     CA        Maintain document control.                              0.10      225.00           $22.50
11/02/2015     MM      CA        Update docket and revier~~ (.1); review daily           0.80      305.00          $244.00
                                 correspondence and pleadings and forward to the
                                 appropriate parties (.3); update critical dates
                                 memorandum (.3); email exchanges with counsel
                                 regarding pending deadlines and follow-up
                                 regarding same (.l)
11 /03/201 S   KSN     CA        Maintain document control.                              ~• 1 ~    225.00           $22.50
11/03/2Q15     MM      CA        Update docket and review (.1); review daily             0.50      305.00          $152.50
                                 correspondence and pleadings and fo~•wa~•d to the
                                 appropriate parties (.2); update critical dates
                                 memorandum {.l); email exchanges with counsel
                                 regarding pending deadlines and follow-up
                                 regarding same (.1)
]1 /04/2015    KSN     CA        Maintain document cont~•ol,                             0,10      225.00           $22.50

11 /04/20]5    MM      CA        Update docket and ~•eview (.1); review daily            0.80      305.00          $244.00
                                 coiTespondence and pleadings and forward to the
                                 appropriate parties (.2}; update critical dates
                                 memo~•andurn (.~1); email exchanges with counsel
                                 i•e~arding pending deadlines and follow-up
                                 regarding same (.1)
11/05/2015     TCSN    CA        Maintain document control:                              0,1 d     225.00           $22:50
1 1 /05/2015   MM      CA        Coordinate 2002 updates regarding Dragon Crowd          0.10      305.00           $30.50
                           15-11880-BLS
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                                                                                          Hours           Rate         Amount
                                 Gaa'ment
11/06/201 S    MM      CA        Update docket and review (,1); update critical dates       0.3Q       305.00           $91.50
                                 memorandum (.l); email exchanges with counsel
                                 regarding pending deadlines and follow-up
                                 ~•egarding same(.})
1 U09/2015     MM      Cf1       Update docket and review (.I); update critical dates       0.40       305,00          $122,Q0
                                 memorandum (.2); email exchanges with counsel
                                 regarding pending deadlines and foitow-up
                                 regarding; same {.1)
1 l/10/2015   ICSN     CA        Maintain document control.                                 0.10       225,p0           $22.50
11/10/2015     MM      GA        Update docket and review (.1.); review daily               0.70       305.OQ          $213,50
                                 cor►•espondence and pleadings and forward to the
                                 appropriate paj•ties (,2); update critical dates
                                 memorandum (.2); email exchanges with coixnsel
                                 regarding pending deadlines and follow-up
                                 regarding same (.2)
11/1 l/2015    M1Vi    CA        Update docket and review (.1); review daily                6.70       305.00          $213.50
                                 correspondence and pleadings and forward to the
                                 appropriate parties (.1); update critical dates
                                 memorandum (.4); email exchanges with counsel
                                 regarding pending deadlines and follow-up
                                 regarding same (.1)
11/12/2015     KSN     C~        Maintain document control.                                 0,20       225.00           $45.00
11/12/2015     MM      CA        Update docket and review (,l); review daily                0,70       305.00          $213.50
                                 cor~•espondence and pleadings and forward to the
                                 appropriate parties (.4); update critical dates
                                 memorandum (.i); email exchanges with counsel
                                 re~ai•ding pending deadlines and follow-up
                                 regarding same (.1)
1 1/13/2015    T~SN    CA        Maintain document control.                                 0.20       225.00           $45A0
1 1/13/2015    MM      GA        Update docket afld reviev~~ (.1); review daily             0.60       305,00          $183.00
                                 corr•es}~ondence and pleadings and forward to the
                                 ap}~i•opriate parties (.2); update critical dates
                                 memorandum (.l);-email exchanges with counsel
                                 regarding; pending deadlines and follow-up
                                 regarding same (.2)
i 1/16/2015    CJB     ~~1       Maintain document control.                                 2.40       225,00          $540.OQ
l l/16/2015    ICSN    CA        Maintain document control.                                 0.20       225.00           $45,OQ
1 I/16/2015    MM      CA        Update docket and 1•eview(2 times)(.2); review             1,00       305.00          $305.00
                                 daily carf•espondence and pleadings and forward to
                                 the appropriate parties (.6); update critical dates
                                 memorandum (.1); email exchanges with counsel
                                 regarding pending deadlines and follow-up
                                 regarding same {.1)
11/16/2015     MM      CA        Coordinate 2002 se1•vice updates regarding counsel         0.10       305.00           $30,50
                          Case
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                                                   Doc 619-2
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                                                                                        Hours           Rate         Amount
                                  foi• 55 Thompson St. Investments
11/17/2015       C3B       CA     Maintain docume~~t control.                             0.30       225.00           $67.50
11/17/2015       MM        GA     Update docket and review (.7); review daily             0.90       3Q5.00          $274.50
                                  correspondence and pleadings and forward to the
                                  appropriate parties (.6); update critical dates
                                  memorandum (.1); email exchanges with counsel
                                  regarding pending deadlines and follow-up
                                  regarding same(.1)
11/18/2Q15       KSN       CA     Maintain document control.                              0.20       225.00           $45.00
i 1/18/2015      MM        CA     Update docket and review (.l); review daily             O.bO       305.00          $183.00
                                  co~7•espondence and pleadings and forward to the
                                  appropriate parties (.1); update critical dates
                                  memorandum (.3); email critical dates memo to
                                  attorneys for review (.1)
11/]9/2Q15       PEC       CA     Update critical dates                                   0.40       295.00          $118.00
11/79/2015       KSN       CA     Maintain document control,                              0.20       225,00           $45.00
11/19/2015.      MM        CA     Update docket and review (.1); review daily             0.6Q       305,00          $183.00
                                  con•espondence and pleadings and forward to the
                                  appropriate parties (.3); update critical dates
                                  memorandum (.i ); email exchanges with counsel
                                  regarding pending deadlines and fallow-up
                                  regarding same (.1)
1 1/20/2015      PEC       CA     Update critical dates                                   0.50       295.00          $147.50
11/20/201 S      1ViM      GA     Update docket and review (,1); review daily             0.&0       305.00          $244.00
                                  coi~•espondence and pleadings and forward to the
                                  appropriate parties (.4); update critical dates
                                  memorandum (.2); email exchanges with counsel
                                  regarding pending deadlines and follow-up
                                  re~;ardin~; same (.1)
11/20/2015       MM        CA     Coordinate 2002 service data updates regarding          0.10       305.00           $30.50
                                  counsel for C + K Broadway
1 1/20/2015      MM        CA     Coordinate 2002 set•vice data updates regarding         0.10       305.00           $30.50
                                  counsel for E. Gluck Co3•p,
1 l/23/201 S     CJB       CA     Maintain document control.                              0.90       225.00          $202.50
11/23/201 S      KSN       CA     Maintain document control.                              4.1 ~      225.00           $22.50
~ ~ /~~~~q ~ ~   p~~y(.    CA     Update docket and review (.1}; review daily             0.40       3p~.pp          $S Z~,pp
                                  correspondence and pleadings and forward to the
                                  appropriate parties (.1 }; update critical dates
                                  memorandum (,1); email exchanges with counsel
                                  regarding pending deadlines and fallow-up
                                  regarding same (.1)
1 1/23/2015      MM        CA     Coordinate 2002 service data updates regarding          O.10       305.00           $30.50
                                  counsel for Oracle
1 1/24/2015      MM        LA     Update docket and review (.l); review daily             0.80       305.00          $244.00
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                                                                                            Hours            Rate         Amount
                                 correspondence and pleadings and for-~ard to the
                                 appropriate parties {.2); update critical dates
                                 memorandum (.2); email exchanges with counsel
                                 ragat~ding pending deadlines and follow-up
                                 regarding same (:3}
11/25/2015     CJB      CA       Maintain document contt~ol.                                  0.70       225.00           $157.SQ
11 /25/2015    ICSN     CA       Maintain document control.                                   0,i0       225.00            $22.50
                                                                                             18.00                   X5,001.00

  Claitaas Adani~n/(}bjections[B310j
11/19/2015     I.,DJ    CO       Cor~•espondence with Annie I.i regarding claims              0.20      ]02S.Op           $205.00
                                 process
11/20/20]5     JNP      CO       Conference with Laura Davis Jones regarding claim            0.t0       895.00            $89.50
                                 objections,
1 U23/2015     LDJ      CO       Telephone call with John A. Mo~-~~is regarding claim         0.20      1025A0            $205.00
                                 objections
i l/23/2015    I,DJ     CO       Correspondence with Michael R, Seidl regarding               0.20      t02S.00           $205.00
                                 claim objections
11/23/2015     LDJ      CO       Attention to claims objection project, p~•ecedent            1.00      1025.00.     $1,Q2S.~0
                                                                                              1.70                   $X,729.54

  Com~zei~sation Prof. [T31b0]
11/23/2015     CAK      CP       Review and update September fee application                  Q.40       295.00           $118.00
11/23/2015     LDJ      CP      Review and finalize interim fee application                   0.30      1025.00           $307.50
                                (September 9-30, 20l 5)
11 /23/201 S   MM       CP       Gonfer with Cheryl A. Knotts regarding PSZ&J first           0.90       305.00           $274.50
                                 monthly fee application (.l); confer with Linda
                                 Miazza regarding fee application service list (,1);
                                 prepare notice regarding application (.3); review and
                                 revise fee application service list (.]}; finalize and
                                 coordinate filing and se~•vice 3•egar•ding first fee
                                 application (.3)
                                                                                              1,60                        $700.00

  ~~~mployee Bene~tipe~~sion-T322~i
11/12/2015     LDJ      ~B       Review KERP motion                                           0,30       1025.00          $307.50
11/16/2015     MM       r~      Email to Laura Davis tones and James E. O'Neill               0.10       305.00            $30.50
                                ie~arding sealed KIP pleading for 12/i/15 hearing
11/24/2015     LDJ      EB       Review US Trustee's K~RP objection                           0,30       1025.00          $307,50
                                                                                              0.70                        $645.50
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                                                                                 Hours           Rate         Amount
  Plan &Disclosure Stmt.[I3320]
11/13/2015    LDJ     ~'D       `t'elephone call with I7urc Savini regarding       0,30      1025,00          $307.50
                                disclosut•e statement issues
11/l'7/2015   LDJ     ~'n       Review amended disclosure statement                1.30      1025.00      $1,332.50
11/17/2015    LDJ     ~'D       Review amended plan                                Q.90      1025.00          $922,50
                                                                                   Z.50                   $2,56250

 TOTAI.SERVICES FC?IZ THIS MATTER:                                                                      $12,133A0
                        Case
                        Case15-11880-BLS
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 Ex~ei~ses
 1 l/02/2015      RE       (1 cr 0.10 PER PG)                                  0.10

 ]1/02/2015       Rr       ( 14 @0.10 PER PG)                                  ~ .ao
 ll/02/2015       RE       (28 @0.10 PER PG)                                   2.80

 I 1/02/2015      RE      (430 @0.10 PER PG)                                  43.00

 ]1 /02/201 S     RE      ( 18 @0.10 PE1Z PG)                                  1.80

 l 1 /02/2015     R~      (231 @0.10 PER PG)                                  23.10

 11/02/2015       RE       (2 @0.10 PAR PG)                                    0.20

 1 1 /02120 1 5   RE       (1 @0.10 PER PG)                                    0.10

 ]1 /02/2015      RE       (2 @0.10 PER PG)                                    0.20

 11/02/2015       RE      (124 @0.10 PrR PG)                                  12.40

 ]]/02/2015       RE2      SCAN/COPY(82 @0.10 PER PG)                          8.20

 1 l/02/2015      RE2      SCAN/COPY(118 @0.10 PAR PG}                        11.80

 l 1 /02/20 15    RB2      SCAN/COPY(118 @0,10 PER PG}                        l 1.80

 11/02/2015       RC2      SCAN/COPY(230 @0.10 PAR PG)                        23.00

 l 1 /03/2015     RE       (7 @0.10 PAR PG)                                    0.70

 i l /03/20]5     RE2      SCAN/COPY(4 @0.10 PER PG)                           0.40



 11/03/2015       RE2      SCAN/COPY(9 @0.]0 PBR PG)                           0.90



 i 1 /03/2015     RE2      SCAN/COPY(17 @0.10 PER PC)                          I.70



 11/03/2015       RE2      SCAN/COPY(32 @0.10 PER PG)                          3,20



 1 1/04/2015      R~       (28 @0.10 PER PG)                                   2.80
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72778 00002                                                                 November 30, 201 S


 11/OG/2015      R~        (i @0.10 PER PG)                                     0.10

 11/05/2015      RE        (l4 @0.l 0 P~lZ PG)                                  1.40

 11 /05/201 S    1ZL       (2 @0,10 PBR PG)                                     0.20

 1 l /OS/20l S   RE        (4 @0.i0 PER PG)                                     0,44

 11/05/2015      12E       (2 chi 0,iQ PFR PG)                                  0.20

 ]1/10/2015      R~        (i @0.]0 PER PG)                                     0,10

 1 1/10/2.015    RE2       SCAN/COPY(4 @0.10 PE12 PG)                           0,40

 11/10/20 t5     itl2      SCAN/COPY(10 @0.t Q PER PG)                          1.p0

 1 ]/10/2015     RE2       SCAN/COPY (11 @0,10 AER PG)                           1.l 0

 11/10/2015      RF.2      SCAN/COPY(35 @0.10 PER PG)                           3.50

 11/ 1 l/201 S   RE        (1 @0.10 PER PG)                                     0.10

 11/11/2015      RE        (8 @0.10 PER PG)                                     0.80

 11/ 1 112015    RE2       SCAN/COPY(8 @0.10 PER PG)                            0.80

 11/1 1/2015     RE2       SCANICOPY($ @0.10 PER PG)                            0.80

 1 l/l l /2015   lZE2      SCAN/COPY(15 @0.10 PER PG)                            1.50

 11/ 1 1/2015    RE2       SCAN/COPY(40 @0.I0 PER PG)                           4.00

 1 1/]2/2015     RE        (t @0,10 PER PG)                                     0.10



 11/12/2015      R~'       (2 @0.10 PER PG)                                     0.20



 11/12/2015      RE2       SCANlCOPY(4 @0.10 PBR 1'G)                            0.40



 1 lfi 2/2015    R~'2      SCAN/COPY (.3 i @0.10 AER PG)                         1.10



 11/12/2015      RE2       SCAN/COPY { lA @0.10 PEK PG)                          1.40
                      Case 15-11880-BLS
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 l 1/12/2015   RE2       SCAN/COPY(15 @0.10 PAR PG)                                   I.SO

 11/12/2015    RH2       SCAN/COPY(16 @0.10 PEK PG)                                   1,60

 11/]2/2015    RE2       SCAN/COPY(16 c~0.10 PER I'G)                                 1.60

 11/12/2015    ItE2      SCAN/COPY(17 @0.10 E'ER PG)                                  1.70

 11/12/2015    RE2       SCAN/COPY(40 @O.10 PLR PG)                                  4.00

 11/12/2015    R~2       SCAN/COPY(74 X0.10 PBR PG)                                  7.40

 11/l2/2015    RL2       SCAN/COPY(528 @0.70 PAR PG)                                52,80

 11/13/2015    RE        (55 @0.10 PER PG)                                            5.50

 11/13/2015    RE        (65 @0.10 YER PG)                                            b.50

 11/13/2015    RE        (333 @0.10 PER PG)                                         33,30

 11/13/2015    RE        (172 @0.10 PER PG)                                          17.20

 11/13/2015    RE        (97 @0,10 PER PG)                                            9.70

 1 ]/13/2015   RE        (235 @0.10 PER ]'G)                                        23.50

 1 ]/13/2015   RE        (93 @0.10 PER PG}                                            9.30

 11/13/2015    RE        (6l @0.10 PER PG)                                            6.10

 l 1/13/2015   RB2       SCAN/COPY(2 @0.10 PAR PG)                                    0.20

 11/13/2015    RE2       SCAN/COPY(2 @0,10 PER PG)                                    Q.20



 1 1/]3/2015   RE2       SCAN/COPY(2 @0.10 PER PG)                                    0.20



 1 1/13/2015   RE2       SCAN/COPY (2'@0.10 PBR PCr)                                  020



 11/1.3/2015   RB2       SCAN/COPY(2 @0.10 PAR AG}                                    0,20



 11/13/2015    RE2       SCAN/COPY(2 @0.10 PER PG)                                    0.20
                          Case
                          Case15-11880-BLS
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 11/13/2015        RE2       SCAN/COPY(5 @0.10 I'rR PG)                          0.50

 11/i3/2015        R~2       SCAN/COPY(8 @O.10 PER FG)                           0.80

  1/l 3/2015       RE2       SCAN/COPY(9 @0.10 PER PG)                           0.90

 1 l /13/2015      ItE2      SCAN/COPY(I 1 @0,101'ER PG)                         1.10

 11/13/2015        R~2       SCAN/COPY(1 ] @0.10 PER PG)                         1.10

 ]1/]3/2015        RE2       SCAN/COpY(13 @0.10 PER PG)                          1.30

 11/13/20.15       R~2       SCAN/COPY(19 @0.10 PAR PG}                          l.90

 11 /13/201 S      RE2       SCAN/COPY(30 @O.10 PER PG}                          3.00

 1 1 /1 3120 1 5   RE2       SCAN/COPY(32 @0.10 PER PG)                          3.20

 11/13/2015        RE2       SCAN/COPY(38 X0.10 PAR PG)                          3.80

 1 U13/20 t 5      RE2       SCAN/COPY(39 @0,10 PETt PG)                         3.90

11/13/2015         RE2       SCAN/CORY(57 @0.10 PER PG)                          5.70

 11/l3/2015        RE2       SCAN/COPY(60 @0.10 PER I'G)                         b.00

11/13/2015         RE2       SCAN/COPY(61 @0.10 PER PG)                          6.10

11/13/2015         R~2       SCAN/COPY(65 @0,10 PER PG)                          6.50

11/13/2015         RE2       SCAN/COPY(94 @0.10 PER 1'G)                         9.40

11/14/2015         R~Z       SCAN/COPY(36 @O.10 T'ER PG)                         3.60



11/16/2015         RE        (4 @0.10 PER PG)                                    0,40



I i /]6/2015       RB       (83 @O.10 PER PG)                                    8:30



l 1/16/201 S       R~       ( 17 @0.10 PER PG)                                   1.70



1 1/]6/2015        RE        (9 @0.10 PER PG)                                    0.90
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 ]1 /16/2015   RE        (I @0.10 I~LR PG)                                  Q.70

 1 ]/16/2015   RT;       (51 @0.10 PER PG}                                  5.10

 11 /16/2015   RE        (289 @0.10 PER PG)                                28.90

 11/16/2015    RE        (11 @O,10 PF;R AG)                                 1.10

 1 l/16/ZOlS   R~        (83 @O.10 PER PG)                                  8.30

 1 U16/2015    R~2       SCAN/COPY(40 @0.10 PER PG)                         4.00

 11/16/2015    RE2       SCAN/COPY(43 @0.10 PER PG)                         4.30

 1 1/17/2 15   RE        (34 X0.10 PER PG)                                  3.40

 11/17/2015    RE        (118 @Q.10 PER PG)                                11.80

 l 1/18/2U15   RE2       SCAN/COPY(88 @0.10 PEn PG)                         8.80

 l lll8/2015   RE2       SCAN/COPY(753 @0.10 PER PG)                       15.30

 11/18/2015    RE2       SCAN/COPY(437 @O.10 PER PG)                       43.70

 11/19/2015    RE        (12 @0,10 PAR PG)                                  1.20

 11/19/2015    RE2       SCAN%COPY(4 @0.10 PER PG)                          0.40

 l 1/19/2015   RB2       SCAN/COPY(4 @0.10 PE1Z PG)                         0.40

 l 1/19/2015   RB2       SCAN/COPY(4 @0.10 PER PG)                          0.40

 11/l9/2015    RE2       SCAN/COPY(68 @Q.10 PER PG)                         6.80



 11/19/2015    R~2       SCAN/COPY(88 @0.10 PETL AG)                        8.80



 11/19/2015    RE2       SCAN/COPY(153 @0.]0 PER PG)                       15.30



 l 1/19/2015   RE2       SCAN/COPY(437 cr 0<10 PAR PG)                     43.70



]1/19/2015     RE2       SCAN/COPY(43Z @0.10 PAR PG)                       X3.70
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 11/20/2015       RE       (4 @0.10 }'I~R PG)                                  0.40

 l 1/20/2015      12E      (2 @O.l0 PER PG) .                                  0.20

 11 /20/2015      R~       (44 @0.l0 PER PG)                                   x.40

 11/20/2015       R~       (l @0.10 FER PG)                                    0.10

 1 U20/2015       RB       (8 @0.10 PER PG)                                    0.80

 I ]/20/201 S     RE       (1 @0.I0 PER PG)                                    0.]0

 1 l /20/2015     RE       (14l @0.10 PER PG}                                 14.10

 ]1/20/2015       RB       (8 @0.10 PER PG)                                    0,80

 1 l /23/20]5     RE       (7 @0.10 PER PG)                                    0.70

 1 ]/23/20]S      RB       (1 12 @0.10 PER PG}                                11.20

 11/23/2015       R~       (296 @0,1 O 1'ER PG)                               29.60

 1 1123/20 1 5    RE       (2 @0.10 PER PG)                                    0.20

 t 1 /23/2015     RE       (6 @0.l 0 PER PG)                                   0.60

 11/23/2015       RE       { 1 @Q.10 PAR PG)                                   0.10

 11/23/201 S      RE       Rept•oduction Expense. 0:101]49 pgs, WLR            4.90

 11/23/2015       RE2      SCAN/COPY(2 @O.10 PER PG)                           0.20

 1 ]/23/2015      RE2      SCAN/COPY(2 @0.10 PER PG}                           0.20



 11/23/2015       RE2      SCAN/CORY(3 @0,10 PAR PG)                           0.30



 I 1 /23120 1 5   RE2      SCAN/COPY(6 @0,I 0 PAR PG)                          0.60



 11/23/2015       RB2      SCAN/COPY(6 @0.10 PER PG)                           0.60



 1 l /23/20]S     RE2      SCAN/COPY(9 ~a;0.10 PAR PG)                         0.90
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 11/23/2015     RE2        SCAN/COPY(I 1 @0.10 PER PG}                             ].10

 11 /23/2015    RE2        SCAN/COPY(I3 cx 0.10 PL,R I'G)                          1.30

 11/23/2015     RB2        SCAN/COPY(14 @0.10 PER PG)                              1,40

 11/23/2015     RE2        SCAN/COPY (id @0.101'ElZ PG)                            1.60

 11/23/2015     RE2        SCAN/COPY(30 @0,l 0 PER PG)                             3,00

 ]1/23/2015     R~2        SCAN/COPY(5 @0.10 PER PG)                               0.50

 11/24/2015     RF        (40 @0,10 PER PG)                                        4.00

 1 1/24/2015    R~        (2 @0.10 PER PG}                                         0.20

 11 /24/2015    Rf;       (16l @0.10 PBR ~'G)                                     16.10

 11/24/201 S    ItE       (149 @0.10 PER PG)                                      14.90

 11/2 /201 S    RE        (11 @0.10 PAR AG)                                        1:10

 11/24/20]5     RE        (l @4.10 PAR AG)                                         0.10

 11 /24/20]5    R12        SCAN/COPY (148 @0.10 I'~R AG)                          14.80

 i 1 /25/2015   RE        (82 @0.10 PER PG.)                                       8.20

 11/25/2015     RE        (1X0.10 PER PG)                                          0.10

 11125/20l S    RE        { 3b8 @0.10 PER PG)                                     36.80

 11/25/201 S    RE        (74 @0.10 PAR PG)                                        7.40



 t I /2S/2015   RE        (1 @0,l0 PER PG)                                         0.10



 l 1/25/2015    RE2        SCAN/Cdl'Y (61 @O.10 I'~R PG)                           6.10



 11/30/2Q15     DC         72779.00002 Digital Legal Charges for l 1-30-15        37.50



 1 1 /30/2015   DC         72779.00002 Digital L,e~;al Charges for 1 1-30-15       8,46
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 11/30/201 S    PAC       Pacei• - Cou~•t Research                            0.50

 11 /30/201 S   Rk~       (l42 @0.10 PER PG)                                 l 4.20

 11/30/20 i 5   RE        (1 @0.10 PER I'G)                                   0.10

 11/30/2015     RC        (18 @0.10 PER PG)                                   1.80

 11/30/201 S    RE2       SCAN/COPY(14 @Q.10 PER PG)                          1.40

 11/30/2015     RE2       SCAN/CORY(14 @O.1 Q Px R PG}                        1.4Q

 1 l /30/2015   RI:2      SCAN/COPY(i9 @0.10 PIER PG)                         1,90

 1 1/30/2015    RE2       SCAN/COPY.( 19 @0.10 PER PG)                        1.90

 11/30/2015     RE2       SCAN/DOPY(61 @0.10 PER PG)                          6.10

  Total Expenses far this Matter                                         $942.76
